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Reference Manual 60
Aviation Management

Approved:

)d -- Ag LAA
Rick Obernesser _
Associate Director, Visitor and Resource Protection

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Chapter 16 —- AIRCRAFT MISHAP PROCEDURES

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Aircraft Mishaps

Mishap Notification Procedures
Aviation Mishap Response Plan
Aircraft Mishap Investigations
Aircraft Mishap Review Board

Aircraft Mishap Documentation

Aircraft Mishaps

All aircraft incidents and accidents will be reported via SAFECOM. There is a range of aircraft mishap definitions,

Accidents

Accidents involve death orserious injury to an individual or substantial damage to the aircraft. All aviation
accidents will be reported immediately to the national aviation manager (NAM), NPS regional director (RD), and
the Office of Aviation Services (OAS) in accordance with 352 DM 3, Aircraft Mishap Notification, Investigation and
Reporting and NPS policy.

Incidents with Potential (IWP)
IWPs are those in which the circumstances indicate significant potential for substantial damage or serious injury.
Final classification will be determined by the OAS chief, Aviation Safety, Program Evaluations and Training,

Aircraft Incidents

Aircraft incidents are occurrences that may affect the safety of operations.

Accident/Incident NPS Review Process

The NPS RD will determine within 14 days whether an internal NPS review of an aviation mishap is necessary per
Director's Order-50B.

Mishap Notification Procedures
Initial Notification

In the event of an aircraft accident or an incident with potential, the aircraft operator, flight manager, pilot, or

person with flight following responsibilities must immediately, and by the most expeditious method, notify the
national aviation manager, NPS RAM, and the OAS Safety Office (24/7) at 1-888-4MISHAP (1-888-464-7427),
who has the departmental responsibility to coordinate with the nearest office of the NTSB.

NPS Internal Aviation Notification and Routing Procedures

1. The national aviation manager (NAM) or designee is the primary focal point of contact within the NPS,
between OAS and the NPS, and with other bureaus for notification of significant aviation-related events
and policy-related matters.

NOTE; Nothing in this procedure should be interpreted to delay notification of immediately needed and
locally available resources in the event of a life-threatening emergency or when notification could delay
resolution of an ongoing problem.

2. For accidents, incidents with potential, serious safety concerns, aviation events of significant policy
impact, or aviation events or actions with the potential to cause widespread interest both inside and
outside the NPS the NAM will contact the chief, Division of Fire and Aviation Management. The chief will
in turn notify the associate director, Visitor and Resource Protection, who will notify the director, NPS.

In the event the RAM has not been notified, the NAM will contact the RAM who serves as primary focal

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16.3

16.4

16.5

16.5.1

point of contact. The RAM will determine and ensure that the appropriate personnel are notified,

3, Concurrently the NAM will contact the appropriate person in DOI/OAS, For accidents and incidents
with potential this will usually be the OAS chief, Aviation Safety, Program Evaluations and Training or an
appointed designee.

Aviation Mishap Response Plan

Each unit will develop an “Aviation Mishap Response Plan” that will detail the actions that need to be
accomplished in the event of an aviation accident, A brief outline of the required actions is listed below, and
additional information can be found in the sample Interagency Aviation Mishap Resporse Guide and Checklist (seé
Appendix 1, Interagency Aviation Mishap Response Guide and Checklist).

1, Take necessary action to rescue survivors,

2. Secure the site and surrounding area to protect the wreckage from further damage and avoid injury to
persons nearby.

3. Designate an incident commander to be in charge of the mishap site; get names, addresses, etc., of
witnesses; and relay all media inquiries to the investigating team or NPS/NTSB public information official,

4. Secure all NPS records pertaining to the operation, flight, maintenance, crewmembers, etc.

5. Document the available information on the aircraft accident checklist in the Interagency Aviation Mishap
Response Guide and Checklist, and provide the information to OAS and the RAM.

Aircraft Mishap Investigations

All DOT accidents are the domain of the NTSB whether they participate in the field investigation or not. NTSB
may designate the OAS as a party to the investigation. In this case, the OAS is working for the NTSB and is bound
by rules 49 C.F.R.§§ 830-831. NPS will offer a qualified individual to assist with the investigating agency and may
also independently review the mishap internally. The NPS RD, in conjunction with the NAM, will assign the
appropriate individuals.

Aircraft Mishap Review Board

An Aircraft Mishap Review Board (AMRB) is responsible for developing mishap prevention recommendation for
all Interior accidents and selected incidents with potential. Specific responsibilities, functions, and procedures to
be followed are in accordance with DOI AM Instruction 220-1.

DOI Aircraft Mishap Review Board, (AMRB) NPS Attendance, Report Routing and Follow-up Actions

Per 350 DM 1, Appendix 4 the NAM is responsible for assigning a representative to the AMRB. This will usually
be an aviation subject matter expert from an area outside the region where the event occurred.

1. NPS policy requires that whenever an AMRB that involves a NPS employee is convened by the director
of OAS, in response to an aircraft mishap, a senior line officer from the region invalved in the event will
participate in the AMRB as a non-voting member. The NAM will coordinate with OAS for inclusion of
this additional NPS participant on the AMRB.

2. Upon receipt of the AMRB report and final recommendations from the director of OAS, the NAM will
route the report to senior NPS management through the chief, Division of Fire and Aviation who will
in turn route to the AD-VRP and director. The NAM will concurrently route copies to the RAM in the
affected region for distribution to the RD and the superintendent of the involved park.

3. Within 30 days of the issuance of an AMRB report, at the discretion of the RD of the region involved, a
Board of Review (BOR) may be convened that will include the regional senior line officer present at the
AMRB, RAM, park superintendent and NPS flight, air or ground crew involved in the mishap. The BOR
will task the responsible parties with responding to and/or implementing the AMRB recommendations in
addition to any the BOR may develop.

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16.6 Aircraft Mishap Documentation

16.6.1 Pilot/Operator Aircraft Accident Report

Upon request of an OAS safety investigator, the aircraft operator will complete NTSB Form-6120.1/2, “Pilot/
Operator Aircraft Accident Report.” In the case of DOI-owned/bureau-operated aircraft, a copy of the report
must be sent to the OAS safety manager within ten days following an aircraft accident or when requested by NTSB
following any of the occurrences listed in 16.2 above.

16.6.2 Aviation Mishap Information System

The aircraft operator, flight manager, or any other person noting an aviation hazard, maintenance deficiency,

airspace conflict, or incident should complete a SAFECOM Report electronically.
NPS SAFECOM Management Roles

completed, will send that copy
lo OAS

POSITION AUTHORITY RESPONSIBILITIES CRITICAL NOTES

Individual Submission Fills out the SAFECOM form, Fill out completely and
completing all required fields accurately. Report only the
including initial determination facts. Narratives should be brief
of operational control. and concise.
Completes the original text
in bath the narrative and
corrective action fields.

POSITION AUTHORITY RESPONSIBILITIES CRITICAL NOTES

Park Aviation Manager Submission If only a hardcopy has been Fill out cornpletely ancl

accurately, Report only the
facts. Narratives should be brief
and concise,

E-Mail Notification

Receives e-mail notification

of all initial, modified and
completed SAFECOMs
identifying their NPS field office
as having operational control,

Provide feedback to person
submitting (unless anonymous).

Corrective Actions

Takes corrective action at the
local level and describes these
actions in the public text area
of the corrective action field,
Includes job title (do not enter
personal information)

Must treat all corrective action
descriptions as if they were
public.

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September 2008

NATIONAL PARK SERVICE OCCUPATIONAL SAFETY
AND HEALTH PROGRAM

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4.7 INFECTIOUS DISEASE CONTROL

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4.12 RADIATION PROTECTION

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Safety to Recommend Standing Up ICS For Corona Planning and Response

Stephenson, Elston L <elston_stephenson@nps.gov>
Mon 3/9/2020 7:49 AM
To: NPS GRCA Executive Team <grca_executive_team@nps.gov>

Good Morning Everyone,

As corona virus developments increase in speed and size---and after reviewing the FEMA ICS 100
material; | would like to recommend standing up GRCA's ICS for planning and responding to corona
virus,

This will not only provide a partition to normal, day-to-day operations and administration of the Park
(which will likely be overwhelmed by corona effects otherwise), but will lead rather than lag
developments.

Looking forward to your thoughts.

Thank You.
Sincerely,

Elston
928-255-8727

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7/9/2019 DEPARTMENT OF THE INTERIOR Mail - Do We Have a Problem With Race at GRCA (and the Surrounding Communilies)?

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Do We Have a Problem With Race at GRCA (and the Surrounding Communities)?

Stephenson, Elston <elston_stephenson@nps.gov>

Reliford, Lionel <lionel_reliford@nps.gov> Wed, May 30, 2018 at 9:59 AM

To: "Stephenson, Elston” <elston_stephenson@nps.gov>

Thank You Elston,

Thanks for your courage in putting this information out to Grand Canyon. Grand Canyon needs to know and in a lot of
ways the park has it head in the sand.

They are so focused on other agendas like LGBT and sexual harassment issues that as an African American here at
Grand Canyon National Park | have felt and it appears that racial bias is not very high on anyone's agenda.

The community here has no Idea what I go through sometimes just from the looks, attitudes, responses, or even the lack
of response or social inclusion.

For example because of the racial bias | have seen here in the area, when | am out running errands, | have my auto
insurance and driver license information out on console because of the possibility of getting pulled over in the park or out
in surrounding areas.

Feel free ta share my response if you would like to the PSET team.

Lionel Reliford

Supervisory Visitor Use Assistant
Grand Canyon National Park
(928) 638-7926 office

(928) 707-0107 cell

On Wed, May 30, 2018 at 9:04 AM, Stephenson, Elston <elston_stephenson@nps.gov> wrote:
(Quoted text hidden)

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7/5/2019 DEPARTMENT OF THE INTERIOR Mail - Private’ Re: Do We Have a Problem With Race at GRCA (and the Surrounding Communitias)?

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Stephenson, Elston <elston_stephenson@nps.gov>

Private: Re: Do We Have a Problem With Race at GRCA (and the Surrounding
Communities)?

Jackson, Deidra <deidra_jackson@nps.gov> Thu, Feb 28,2019 at 11:02 AM
To; "Stephenson, Elston" <elston_stephenson@nps.gov>

Hi Elston, | am just reading this email as | have been on leave caring for my mother (who passed away in August 2018)
and caring for own health and wellness. | thank you for sharing this email and your story. | have experience what | feel is
racial discrimination since 2012 at GRCA/HOAL especially after hosting the very first Black History Month Celebration in
2013. | don't think | will be "allowed" to return to my position; which Is hard at age 54 with only 4 years to retirement; but; |
answer to a Higher authority and | know | will be okay, Thank you again for bringing this issue to ‘light’.

Many thanks, abundant blessings and much continued success

Deidra Jackson (King-Ross), Administrative Officer

US DO! NPS, WASO L & D, HOAL National T C

1 Albright Ave P O Box 477 Grand Canyon, AZ 86023-0477
T; 928-638-7985 C:928-231-2992 F: 928-638-2953

E: deidra_jackson@nps.gov

Kindle your flame at...........
The Common Learning Portal: Take Classes Share Lessons Find Answers Connect Be Inspired Check out the
video

On Wed, May 30, 2018 at 9:04 AM Stephenson, Elston <elston_stephenson@nps.gov> wrote:

The views expressed in this email belang to Elston | Stephenson, OHST and not the NPS, the PSET, staff, or others.
Thank You,

Good Morning Everyone,

What a few days it’s been. Sorta like ‘Shark Week’ on NatGeo.

Thursday | gave a stand up at the Supervisor's All-Hands where | presented a vignette with a challenge revealing
how unconscious bias can sneak up on us. Saturday | receive a complaint of race-based treatment—notable
because | have received such a complaint from virtually all African-Americans working for NPS GRCA. Monday NPR
1A airs a provocative re-broadcast of an episode dubed “Making the National Parks Safe for People of Color”. And
yesterday; Tuesday—no kidding, at the very moment that | am sharing with the Grand Canyon Park Senior
Executive Team {PSET) that | believe that we may have a problem with race (particularly as it relates to African-
Americans) in the NPS and at Grand Canyon National Park; Rosanne is doing her thing..................-. And Disney/ABC
is doing theirs,

The nation now is having a dialog.
As a matter of Wellness and ‘Inclusion’; maybe we should too.

Ladies and gentlemen; the evidence suggests that we have a problem with race at Grand Canyon National Park and
in the surrounding communities,

On a Saturday, a little more than a month ago | took one of my routine drives to Kinko’s to do some binding.
Normally if you get there first thing as they open (before all the college students and others come in with their
projects), they will bind them for you right there—saving you the return trip. | was starving, saw Dunkin Donuts on
the way and just around the corner, and decided to do a ‘drive-by’, But it had to be quick. So! perpendicular-
parked--blocking people in, ran in, took a look around, saw that there were too many people in line, and dashed
back out and headed on to Kinko’s. It was THAT quick.

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7/5/2019 DEPARTMENT OF THE INTERIOR Mail - Private: Re: Do We Have a Problem Wilh Race at GRCA (and |he Surrounding Communities)?

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| The bindings went well. | bought a snack there, ate it as | waited, and | headed back.

| Nearly back to Valle, | received a call from a Coconino Sheriff—I meet and introduce myself to many law
| enforcement folks and give them my card in course of work. So | was not surprised.

“Heyl How ‘You doing?!” “Hey! Good, good...You?” “Doing good. Hey listen, were you at Dunkin Donuts this

| morning?” ,,......’m a little surprised, but say, “YEAH....were YOU there?” “No. | don’t know how to tell you this;
but | got a call from a woman who says that you broke into her car and were rummaging through it and either
attempted to steal stuff from her car or steal her car or something!”

At first | thought she was ‘punking’ me, But the moment of awkward silence told me that she was actually serious.

"OK.......1 mean, OK” | said. And we went on with me describing my stop at Dunkin Donuts, And my offer to return
to answer any questions. And speculated that there are probably plenty of cameras around that could verify my
story. And speculated that if the Sheriff told the woman of the cameras along with the fact that filing a false report
is a prosecutable crime, she’d probably change her story, The Deputy seemed embarrassed at having had to call
me, and seemed to sense what a farce this was—particularly knowing me somewhat, She apologized, and said that
she'd talk ta the woman and call me back. She never called me back,

| have received several complaints ranging from racially inspired indignities, to disparate treatment, to racist
language—again, from nearly every single African-American here and some that have since left.

Each has pained me deeply as | identify with the attacks on their Dignity.
I'm still new, but We seem to have a problem with race in and around Grand Canyon National Park.

It is likely that as we celebrate the upcoming Grand Canyon Centennial, we may also become recognizable as
among the most segregated places In the nation—with perhaps just 2 or 3 African-Americans among some 500 or
so team members and scant few among 6,000,000+ visitors.

I've invited folks from inside and outside the NPS to take a look at us.

I've also invited the 44" President of the United States to stop by and celebrate the 100" Anniversary of one of the
most Amazing places on earth with us.

We'll see how that goes.

In the meantime, and respectfully, | would ask each of us to reflect. Do we have a problem with race here at the
Grand Canyon? And if we do, what does it look like?

Thank You.

Very Sincerely,
Elston
928-255-8727

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7/3/2019 DEPARTMENT OF THE INTERIOR Mail - Do We Have a Problem Wilh Race at GRCA (and the Surrounding Communities)?

Stephenson, Elston <elston_stephenson@nps.gov>

Do We Have a Problem With Race at GRCA (and the Surrounding Communities)?

Pearce, Andy <andy_pearce@nps.gov> Wed, May 30, 2018 at 12:47 PM
To: "Callins, Michael" <michael_collins@nps.gov>
Ge: "Sullivan, Mary" <mary_sullivan@nps.gov>, "Stephenson, Elston" <elston_stephenson@nps.gov>

All,

| personally believe that this is a really crucial topic to be brought into the open and discussed. Your story, Elston, Is
disturbing and has me wondering if that would have happened if I'd done the same exact thing.

About 5 or 6 years ago I hired a winter seasonal, who was African-American, and she was very open with me about her
experience working here as a black woman, and it helped me understand some of the challenges she faced.

So, yes, let's talk more about this as It Is a topic of importance,
Andy

Andy Pearce

Environmental Education Specialist
Grand Canyon National Park

P.O, Box 129, Grand Canyon, AZ 86023
Ph: 928-638-7662

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On Wed, May 30, 2018 at 11:02 AM, Collins, Michael <michael_collins@nps.gov> wrote:
Thanks Mary, thats a good suggestion, and good timing, as we are in the process of revamping Allies.

Thanks!
Mike

Mike Collins

Manager, Office of Employee and Organizational Development
Grand Canyon National Park

ph: 928-638-7401

fax: 928-638-7369

On Wed, May 30, 2018 al 9:39 AM, Sullivan, Mary smary_sullivan@nps.gov> wrote,
| think it would be beneficial for our Allies for Inclusion facilitators to use this topic for one of their next dialogues, I'm
sure their advertisement of the session combined wilh Elston's email would result in a lot of turnout.

On Wed, May 30, 2018 at 9:27 AM, Sullivan, Mary <mary_sullivan@nps.gov> wrote,
{ think it would be beneficial for our Allies for Inclusion facilitators to use this topic for one of their next dialogues.
I'm sure their advertisement of the session combined with your email would result in a lot of lurnout (they usually
only gat about six participants for regular dialogues, with luke-warm topics like "leadership" or "controversy")

On Wed, May 30, 2018 at 9:19 AM, Sullivan, Mary <mary_sullivan@nps.gov=> wrote:
Thanks for the email, Elston. | agree and | wish | knew the fast way to make a change.

On Wed, May 30, 2018 at 9:04 AM, Stephenson, Elston <elston_stephenson@nps.gov> wrote:
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7/3/2019 DEPARTMENT OF THE INTERIOR Mail - Do We Have a Problam With Race al GRCA (and the Surrounding Communilias)?

Stephenson, Elston <elston_stephenson@nps.gov>

Do We Have a Problem With Race at GRCA (and the Surrounding Communities)?

Pearce, Suzan <suzan_pearce@nps.gov> Wed, May 30, 2018 at 4:58 PM
To: "Stephenson, Elston" <elston_stephenson@nps.gov> ;

The views expressed in this email belong to SuZan Pearce and not the NPS, HOAL, staff. or others. Thank You.

Hi Elston,

Thank you for taking the time to share your thoughts on this topic. |} am sorry to hear about your distasteful situation with
being accused of theft. | am one of the instructors for the Fundamentals program and I hear students talk about the lack
of diversity in the NPS in almost every class. We facilitate an Allies for Inclusion dialogue during some classes on Implicit
bias but that is just touching the surface. | also have two children, one of whom recently graduated from Grand Canyon
School and the other going into 9th grade there. | have been trying to get the school to consider offering training to
sludents and staff alike on topics of implicit bias, cultural competency, creating a respectful culture; etc. | have also
requested numerous times that they connect with the Southern Poverty Law Center's Teaching Tolerance program for
free resources and to host a "Mix it Up" day. They are open to it but yet il seems to keep taking the back burner.

I do think there is a problem with “race” but not just in and around Grand Canyon (I put "race" in quotes because National
Geographic did a great article recently on how “race" doesn't actually exist except in our minds). | admire your willingness
to speak openly about it and challenge our beliefs, This is a first step, to paint out the elephant in the room, | hope your
email sparks some healthy thought and dialogue and can serve as a catalyst toward creating a healthier community. | am
curious if others have responded to your email and what they are saying. Please let me know if anything comes of this. |
want to learn and grow myself and to help our community do likewise.

SuZan Pearce

On Wed, May 30, 2018 at 9:04 AM, Stephenson, Elston <elston_stephenson@nps.gov> wrote:
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7/3/2019 DEPARTMENT OF THE INTERIOR Mail - Do We Have a Problem With Raco al GRGA (and the Surrounding Communilias)?

Stephenson, Elston <elsten_stephenson@nps.gov>

Do We Have a Problem With Race at GRCA (and the Surrounding Communities)?

Rebecca Potter <rebecca_potter@pariner.nps.gov> Wed, May 30, 2018 at 4:08 PM
To: elston_stephenson@nps.gov

Elston,

Firstly, thank you for sharing this experience and perspeclive, and I'm so sorry you were profiled. I'm still relatively new to
Grand Canyon as well, and though | don’t experience whal many folks of color may on a day to day basis, | do agree:
racism clearly persists throughout NPS (from individual attitudes to structures and systems), as It does our country.

I think it will take speaking openly and frankly moving forward, values-based priority shifts, and evaluating as a team the
many interrelated barriers (connecting to economic stalus, race, gender, etc) in National Parks thal welcome some while
excluding others. Thank you again for your voice.

Best,
Becca

Rebecca Potter

Conservation Legacy Intern - Volunteer Coordination
Grand Canyon National Park

P.O, Box 129

Grand Canyon, AZ 86023

(c) 802.380.9470
(w) 928.638.7488

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8/8/2019 DEPARTMENT OF THE INTERIOR Mail - Oo We Have a Problam With Race at GRCA (and the Surrounding Communilias)?

Do We Have a Problem With Race at GRCA (and the Surrounding Communities)?

Stephenson, Elston <elston_stephenson@nps.gov>

Drapeaux, Brian <brian_drapeaux@nps.gov> Thu, May 31, 2018 at 12:35 PM

To: "Stephenson, Elston" <elston_stephenson@nps.gov>

Hi Elston,

Thanks for this message. | want to remind you that if employees are making claims of harassment within the work force,
under DO 16 when you get these specific complaints about work place harassment we have specific timelines and
reparting requirements that includes reparting timelines that include notification of the Park HPOC, which is me. If you
have them please provide a written summary with time and date of the complaint,

thanks,
Brian

Brian Drapeaux

Deputy Superintendent, Business Operations
Grand Canyon National Park

P.O, Box 129

Grand Canyon AZ 86023

928-638-7945 Phone

928-638-7815 Fax
Brian_Drapeaux@nps.gov

On Wed, May 30, 2018 at 9:04 AM, Stephenson, Elston <elston_stephenson@nps.gov> wrate:
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Case 3:19-cv-08268-DLR Document 37-3 Filed 06/17/20 Page 21 of 63
8/8/2019 DEPARTMENT OF THE INTERIOR Mall - Do We Have a Problem With Race at GRCA (and the Surrounding Communities)?

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Stephenson, Elston <elston_stephenson@nps.gov>

Do We Have a Problem With Race at GRCA (and the Surrounding Communities)?

Stephenson, Elston <elston_stephenson@nps.gov> Thu, May 31, 2018 at 3:18 PM
To: “Drapeaux, Brian" <brian_drapeaux@nps.gov>

Brian,
Good Afternoon and Thank You.

As we spoke on Tuesday, Lionel mentioned that he made a complaint of the racist comments to Matt V. approximately 3
weeks ago.

Thank You.

Sincerely,

Elston
928-255-8727

On Thu, May 31, 2018 at 12:35 PM, Drapeaux, Brian <brian_drapeaux@nps.gov> wrote:
Hi Elston,

Thanks for this message. | want lo remind you that if employees are making claims of harassment within the work
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928-638-7815 Fax
Brian_Drapeaux@nps.gov

On Wed, May 30, 2018 at 9:04 AM, Stephenson, Elston <elston_stephenson@nps.gov> wrote:

The views expressed in this email belong to Elston L Stephenson, OHST and not the NPS, the PSET, staff, or others.
Thank You.

Good Morning Everyone,

What a few days it’s been. Sorta like ‘Shark Week’ on NatGeo,

Thursday | gave a stand up at the Supervisor's All-Hands where | presented a vignette with a challenge revealing
how unconscious bias can sneak up on us. Saturday | receive a complaint of race-based treatment—notable

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Case 3:19-cv-08268-DLR Document 37-3 Filed 06/17/20 Page 22 of 63
8/8/2019 DEPARTMENT OF THE INTERIOR Mall - Do We Have a Problem With Race al GRCA (and the Surrounding Communities)?

Stephenson, Elston <elston_stephenson@nps.gov>

Do We Have a Problem With Race at GRCA (and the Surrounding Communities)?

Stephenson, Elston <elston_stephenson@nps.gov> Sat, Jun 2, 2018 al 7:13 AM
To: "Drapeaux, Brian" <brian_drapeaux@nps.gov>

Brian,

When we spoke Tuesday (May 29, 2018) You mentioned doing an investigation to see that Matt took action,
This was also the subject of an email that | sent to the Superintendents May 12, 2013.

Can | tell Lionel to expect that You will do the follow-up investigation?

Thank You.

Sincerely
Elston

928-255-8727
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Case 3:19-cv-08268-DLR Document 37-3 Filed 06/17/20 Page 23 of 63

6/24/2019 DEPARTMENT OF THE INTERIOR Mail - | Tilt My Mirror for My Drive (Surviving Racism)

| Tilt My Mirror for My Drive (Surviving Racism)

Stephenson, Elston <elston_stephenson@nps.gov>

Stephenson, Elston <elston_stephenson@nps.gov> Sat, Jun 22, 2019 at 4:02 PM

To: "Minks, Erin (Bennet)" <Erin_Minks@bennet.senate.gov>
Dear Senator,
Please consider this a Congressional Complaint.
Good Morning.

| find myself resorting to “tilting my mirror’ high for my drive to gel me through’a day of Surviving Racism so often that it
has become a fixture. Not everyday. | may even go a week without needing to 'tilt my mirror’. Bul after 2 years of
withholding judgement; racism is as much a part of my day at my Park as a land feature, or a particular animal, the bus
system, or conserving water.

I'm not mad about it, | guess. | just expected more. | expected Better.

Our racism here is “we would rather hear from a white lesser qualified or even unqualified face than a solidly qualified or
expert black face".

A Ralph Ellison racism,

| was born exactly 101 years after President Lincoln's Emancipation Proclamation. In the year of the Civil Rights Act.
Named after the first African-American MVP of the American League. Attended and graduated Ulysses S. Grant High
School.

| Served as a military professional, senior officer, laader, and attack helicopter pilot for nearly 30 years—5 of them on the
front lines somewhere exporting and fighting for Values that we are famous for.

Forcing myself to look through that mirror tilted extra high on my drive---that exalting motion--that stretch and strain of my
neck releases 'the stress of racism’,

Recently, a door was literally shut in my black face as whites from elsewhere gathered inside to discuss uranium
exposures to my workers and public (and me) at my own park. | was forced to wait outside---wondering the hall. | get
spied on, followed, checked on as | try to do my job (often by those of lesser pay-grades). In the course of my work, more
than a year ago an African-American confided in me that he drives with his insurance papers, registration, and license
stuffed In the operator's manual pouch laid atop his dash because he was afraid of getting pulled over for 'dwb' and
getting shot reaching for them in his glove compartment--even in the Park, We said we'd fix that. Never did. He moved to
the very outskirts of the park to feel safe. | failed him.

Whites of lessor grades (non-supervisor) get such authorities as deciding for themselves if and when they need to take
overtime, As a senior grade, I've been made to beg for overtime. | literally do the job of 3 people, When | have put in for
hours needed to get work done, they have been denied---even though the park and others have benefited from my labor.
Quite literally slavery amounting to slavery. | graduated pre-law last year, applied for the Army War College (online) for
grad ed—a routine thing between Agencies, But that's being dangled In front of me—a 'non-denial denial’ as the deadline
approaches; denial of education being a visceral vestige of Jim Crow such as it is.

Just last week, my park held a helicopter ‘crash drill’. | survived a crash. A bad one. And I've investigated between 2 and
3 dozen Class As thru Es in 21 years, Been through several world class, renowned crash investigation courses—
attended the Helicopter Crash Investigation Course atthe NTSB DC Training Center less than a year ago. | paid for it out
of pocket even though such training is required by NPS regulations. Very ‘linked in' and well regarded among the NTSB
staff. A wheel barrel of products, guides, telephone numbers, names, pubs, checklists that would benefit aur or any
program. Arquably one of the most trained, experienced, aviation accident investigators in the NPS. Likely one of the top
safety professionals in the Service as well. As an Airfield Safety Officer, I've run 6, 7, 8 of these, Yet my black face was
excluded as white faces—most with zero experience attended or parlicipated.

We hide here behind "I didn't use the 'N word! as our measure of how we are doing with Our Racism.

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Case 3:19-cv-08268-DLR Document 37-3 Filed 06/17/20 Page 24 of 63

6/24/2019 DEPARTMENT OF THE INTERIOR Mail - ! Tift My Mirror for My Drive (Surviving Racism)

Last year we had just 0.6% (3:500) African-Americans among our staff, Lower, probably than deliberately segregated
enclaves such as golf clubs.

These acts of racism—the exclusions, the marginalizations, the diminishments; they're humiliating,
It represents the Nation poorly. And hinders our ability to most effectively carry out our mission.

| have no hope that we can fix it from within. So | am asking you to help fix it from without, If withholding or linking funding
ls what is needed to fix this. Then please withhold funding or make it conditional.

Respectfully, please forego the "nat my constituent" Institutional courtesy. My park belongs to you, your constituents, and
the Nation.

Racism is a feature of my day. No one should have to endure this as a condition of work,
Respectfully, | bellave 'the dignity of work’ should not require yau to surrender your Dignity to work.
In just a few days it will be 2 years for me,

Exactly 101 years after the Emancipation Proclamation, 5 years on Our front lines.

As I ‘tilt my mirror’ to get ready for my drive. | find myself muttering “what did | do?!"

Very Sincerely,

Elston LeMans Stephenson, OHST
Safety Health & Wellness Manager
Tort Claims Officer

Grand Canyon National Park
928-255-8727

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Case 3:19-cv-08268-DLR Document 37-3 Filed 06/17/20 Page 25 of 63

UNDERSTANDING RACISM (INTELLIGENTLY)
Case 3:19-cv-08268-DLR Document 37-3 Filed 06/17/20 Page 26 of 63

BLUF

As Sexual Harassment isn’t about sex,
it’s about power;
Racism isn’t about race,
it’s about power.
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DEFINITION (Principle 1)

RACISM:
STATURE + AUTHORITY + DIGNITY

And Their Denial from the ‘Target Race’

Particularly when compared to ‘similarly situated’ others
Case 3:19-cv-08268-DLR Document 37-3 Filed 06/17/20 Page 28 of 63

DEFINITION (Principle 2)

POWER:
STATURE + AUTHORITY + DIGNITY

(3 Types: Legitimate, Knowledge, Informal)

Asserting ‘superiority’ by diminishing the power (types) of
the target race is a key feature and ultimate goal of Racism

Any power by the target race is perceived as a taking away from
the ‘privileged race’ and a primal stimulus threat
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Principle 3

Racism is a pathology that
existentially NEEDS expression and
validation beyond any control

The racist can’t help himself. There must be an outlet or outburst.
Besides, what good is being superior if no one knows about it?
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RACISM TOOLS

Growth/Potential
Exclusion Oe Diminishing
Barriers Limiting * Humiliation
Denial of Admission * Education ° Belittling

e Professional Development
* Economic

Denial of Invitation ° Minimizing

Denial of Process ¢ Marginalization

sae ° Social i:
Denial of Legitimacy 5 lira ° Ignoring
Segregation Outies ¢ Silencing

° Societal
mt ! ¢ Disparate Treatment

¢ Hostility. ° Deceit * Deleting

¢ Slurs/Epithets ° Non-recognition * Revision

* Confrontation ¢ Pigeon Holing ° Revoking

¢ Punishment ° Stalling ¢ Protection of Violators

e Violence ¢ Undermining ° Genocide
Case 3:19-cv-08268-DLR Document 37-3 Filed 06/17/20 Page 31 of 63

Definition

Racist Organization:

Organization, institution, or culture which does not
investigate and punish racism sufficient to dis-
incentivize it and/or has racists at the top of its

organizational structure
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Thank You
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EXHIBIT Z-18
6/14/2020 Case 3:19-cv-08268-DLR Doquinentc fsa, ced O6/17/20 Page 34 of 63

Exorbitant Food Prices at General Store Tusayan - Impacts Food/Financial Insecurity and
Wellness

Stephenson, Elston L <elston_stephenson@nps.gov>

Mon 4/27/2020 12:36 PM

To: NPS GRCA Executive Team <grca_executive_team@nps.gov>; Minton, Lucas F <lucas_minton@nps.gov>

Cc: Sullivan, Dana <Dana_Sullivan@nps.gov>

(i) 28 attachments (29 MB)

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EAQOEE6S-,jpg; IMG_5976,jpg; 17375£96-.jpg; 3F92E66C-,jpg;

Good Morning.
We have a troublesome situation among us which must be immediately addressed by PSET and the IMT.
This makes any concept of Wellness impossible for those affected.

A recent random sample of food prices found that prices were between 13% and 97% higher at the
General Store Tusayan and the General Store Grand Canyon National Park. (attached)

Examples are bread costing 43% more, milk large 24% more, milk small 32% more, (attached)

That $3.69 versus $2.59 for a loaf of bread ($1.89 at Walmart), or can be 'make-or-break' for a family on
limited means or 'unemployment'.

General Store Tusayan accepts cash. General Store Grand Canyon does not. GRCA store is closed
Wednesdays and Sundays.

This becomes a problem as we have forced those who do not have a credit card (presumptively those on
the lower end of the economic scale) to the Tusayan Store.

This is exacerbated as GRCA/Tusayan is a ‘food desert' with the nearest grocery stores being 50+ miles
away in Williams, and 90+ miles away in Flagstaff (one way each), And that many (presumtively those on
the lower end of the economic scale) are without transportation.

This combination literally traps, funnels, and herds them into exploitation---gouging.

What is constructed is a system which exploits the vulnerable and ‘the least among us' into a cycle of
food insecurity and financial distress.

This weighty, omnipresent stress and distress destroys any attempt at Wellness. It undermines and
discredits all other efforts, such as school lunches, 'Mazwik Lunches', and Food Pantry to soften and
address food and economics needs exacerbated by the COVID-19 Closure and felt by NPS and non-NPS
employees alike.

This must be addressed.

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6/1 4220 Case 3:19-cv-08268-DLR DogyimMegtneées eftdlad QG447/20 Page 35 of 63
Thank You

Sincerely,
Elston

Elston L Stephenson, OHST
Safety Health & Wellness Manager
Tort Claims Officer
Grand Canyon National Park
~ 928-255-8727

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Case 3:19-cv-08268-DLR Document 37-3 Filed 06/17/20 Page 36 of 63

FOOD PRICES:
GRCA STORE vs TUSAYAN STORE

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FOOD PRICES:
GRCA STORE vs TUSAYAN STORE

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FOOD PRICES:
GRCA STORE vs TUSAYAN STORE

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FOOD PRICES:
GRCA STORE vs TUSAYAN STORE

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FOOD PRICES:
GRCA STORE vs TUSAYAN STORE

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FOOD PRICES:
GRCA STORE vs TUSAYAN STORE

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GRCA STORE vs TUSAYAN STORE

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FOOD PRICES:
GRCA STORE vs TUSAYAN STORE

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FOOD PRICES:
GRCA STORE vs TUSAYAN STORE

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FOOD PRICES: WALMART (FLAGSTAFF)

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GENERAL STORE DELIVERY 5-22-2020

wl) Extended = 5:52 AM 100% (=z)
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6:52 AM

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GENERAL STORE DELIVERY 6-16-2020

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EXHIBIT Z-19
Case 3:19-cv-08268-DLR Document 37-3 Filed 06/17/20 Page 53 of 63
5/31/2020 Mail - Stephenson, Elston L - Outlook

Elston Apology

Stephenson, Elston L <elston_stephenson@nps.gov>
Sun 2/23/2020 5:07 PM
To: NPS GRCA Executive Team <grca_executive_team@nps.gov>

0 1 attachments (625 KB)
Elston Uranium Map.pdf;

Hello Everyone.

I'm sorry for the way that | expressed myself at our recent Strategic Focus.

My language was accusatory.

After speaking with a couple of people, | learned that my use of "we" as a way of generalizing so as not
to push anyone under the bus makes people with a conscience think You're talking about them.

| don't know how else to do it.
Sadly, though, the things that | said are true.
GRCA submitted false statements and documents to OSHA.

GRCA had a worker who did dangerous work with very serious and legitimate safety concerns who
wanted to speak to the highest levels in an exit interview and asked me to set it up. He was blown off.

Recently, GRCA questioned whether or not we'd all workers the same full on safety embrace that we
give career or permanent workers.

GRCA doesn't have a safety budget. As You know; money and time spent on something are the best way
to see what You care about. This popped out to me during our meeting.

Very recently | discovered that GRCA had someone go into SMIS and delete at least one instance of a
worker getting injured. That's just the one that | know of. And as far as | know, | don't have the ability to
delete anyone. That must take place at Region or higher.

The word "fraud" was used in our meeting. It's accurate. SMIS is an official document. The 300 that it
feeds is official. The data forwarded to the Bureau of Labor Statistics is official. Worse; once OWCP is
transacted, it ebbs into insurance fraud.

This worker---and any others that this may have happened to now has no proof of workplace injury for
future care if she needs it.

| had to tell OSHA for the first time in my career that | could not 'certify' my OSHA 300 because | had no
idea how many other accident injuries were ‘disappeared’. And that | had never 'eyeballed' SMIS with an
eye towards anyone going in and tinkering with this official record data. And that it calls into question
not only this year's data, but others as well.

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Case 3:19-cv-08268-DLR Document 37-3 Filed 06/17/20 Page 54 of 63

5/31/2020 tephenson, Elston L - Outlook

GRCA only had 8-10 workers donning a mask who have took the academics last year. Only 2 of them
took it the year before. GRCA has about 30 wearers. It is the combination of the academics and fit
testing that saves lives. GRCA is courting danger.

This President's Day---the day before out meeting, | was presented with a map (attached). It shows a
sort of bull's eye of colors with of red in the center---Orphan mine. The map is dated 2015. | gave classes
where | reminded our workforce that we have duty (by law) to notify them if they are expose to so much
as Windex. And Monday | had to come to the realization that my organization sent me into that bull's
eye at least 3 times without so much as a ‘hey You'!

That and the few incidents above have really made me call into question ‘who we are’. What's our
brand?

| used the word caring. I'm sorry, but anyone would be hard-pressed to convince me that there is caring
or integrity in any of those situations above.

| simply thought that GRCA had built something different than that...........Better.

Please, the most important question should be, "Is what he saying true?"

It is. I've had a talk with Mary, and provided her the documentation if that's what's needed.

Mostly though, it is impossible to express the feelings of knowing that your own team has repeatedly
sent You into such danger like | was sent into that uranium patch---concealing those hazards from me

even as | spend every day and most nights pondering ways to keep Our People safe.

To say that | am frustrated and worried is a big understatement. And these developments really do have
me questioning our Identity and their ramifications for the safety of Our People going forward.

Ordinarily, | would consider it inelegant to not apologize in person. But | will be away for a bit.

I'm sorry that | expressed it so poorly to You all.

Very Sincerely,

Elston

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: Case 3:19-cv-08268-DLR Document 37-3 Filed 06/17/20 Page 55 of 63
5/31/2020 Mail - Stephenson, Elston L - Qutlook

Fw: Elston Apology

Stephenson, Elston L <elston_stephenson@nps.gov>
Mon 2/24/2020 5:11 AM
To: NPS GRCA Executive Team <grca_executive_team@nps.gov>

() 2 attachments (10 MB)
Elston Uranium Map.pdf; Stephenson GRCA CH-47 Helicopter Accident 10-28-2019 (1)(Raw).mov,

Everyone,

Please receive these 3 videos of recent helicopter accidents.

Each could have killed Our People or Our Visitors.

Had that 5,000Ibs dumped by the 47 landed on top the Indian Gardens Pumping Station there would
have Biblical consequences. Grand Canyon National Park may have been out of water for up to a year or

more.

Again, I'm sorry.

Very Sincerely,

Elston

From: Stephenson, Elston L s

Sent: Sunday, February 23, 2020 5:07 PM

To: NPS GRCA Executive Team <grca_executive_team@nps.gov>
Subject: Elston Apology

Hello Everyone.
I'm sorry for the way that | expressed myself at our recent Strategic Focus.
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5/31/2020 Case 3:19-cv-08268-DLR Doce gb snc, Eiled 06/17/20 Page 56 of 63

Recently, GRCA questioned whether or not we'd all workers the same full on safety embrace that we
give career or permanent workers.

GRCA doesn't have a safety budget. As You know; money and time spent on something are the best way
to see what You care about. This popped out to me during our meeting.

Very recently | discovered that GRCA had someone go into SMIS and delete at least one instance of a
worker getting injured. That's just the one that | know of, And as far as | know, | don't have the ability to
delete anyone. That must take place at Region or higher.

The word "fraud" was used in our meeting. It's accurate. SMIS is an official document. The 300 that it
feeds is official. The data forwarded to the Bureau of Labor Statistics is official. Worse; once OWCP is
transacted, it ebbs into insurance fraud.

This worker---and any others that this may have happened to now has no proof of workplace injury for
future care if she needs it.

| had to tell OSHA for the first time in my career that | could not 'certify' my OSHA 300 because | had no
idea how many other accident injuries were ‘disappeared’. And that | had never 'eyeballed' SMIS with an
eye towards anyone going in and tinkering with this official record data. And that it calls into question
not only this year's data, but others as well.

GRCA only had 8-10 workers donning a mask who have took the academics last year. Only 2 of them
took it the year before. GRCA has about 30 wearers. It is the combination of the academics and fit
testing that saves lives. GRCA is courting danger.

This President's Day---the day before out meeting, | was presented with a map (attached). It shows a
sort of bull's eye of colors with of red in the center---Orphan mine. The map is dated 2015. | gave classes
where | reminded our workforce that we have duty (by law) to notify them if they are expose to so much
as Windex. And Monday | had to come to the realization that my organization sent me into that bull's
eye at least 3 times without so much as a ‘hey You'!

That and the few incidents above have really made me call into question 'who we are’. What's our
brand?

| used the word caring. I'm sorry, but anyone would be hard-pressed to convince me that there is caring
or integrity in any of those situations above.

| simply thought that GRCA had built something different than that........... Better.

Please, the most important question should be, “Is what he saying true?"

Itis. I've had a talk with Mary, and provided her the documentation if that's what's needed.

Mostly though, it is impossible to express the feelings of knowing that your own team has repeatedly
sent You into such danger like | was sent into that uranium patch---concealing those hazards from me

even as | spend every day and most nights pondering ways to keep Our People safe.

To say that | am frustrated and worried is a big understatement. And these developments really do have
me questioning our Identity and their ramifications for the safety of Our People going forward.

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Ordinarily, | would consider it inelegant to not apologize in person. But | will be away for a bit.

I'm sorry that | expressed it so poorly to You all.

Very Sincerely,

Elston

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EXHIBIT Z-20
Case 3:19-cv-08268-DLR Document 37-3 Filed 06/17/20 Page 59 of 63
10/10/2019 DEPARTMENT OF THE INTERIOR Mail - Thank You From Grand Canyon - SOS Contact for Asst Secretary John Henshaw

Stephenson, Elston <elston_stephenson@nps.qov>

Thank You From Grand Canyon - -SOS Contact for Asst Secretary John Henshaw

Stepharisor: Elston egtklah siaaraneahanie.s gov> Thu, jeri 40, 2019 at 5: 32 AM
To: dmm@gwu.edu

Secretary Michaels,
Sir Good Morning.
Sir, can you please pass along any contact information to former Assistant Secretary John Henshaw?

Sir Thank You for your thoughts and generous offer to assist us establish a legitimate safety Program here at Grand
Ganyon National Park (and in NPS) as we spoke last week.

Thank you also for your suggestion to invite Secretary Henshaw. | have tried to find him, but with no success. Sir, | hate to
bug you, but would you happen to know of a good contact for him?

| touched base again with Zach Barnett in the Phoenix OSHA office. He was very happy to hear that you would be a
saurce of wisdom, counsel, and a 'big brain’ to help us put a system in place here.

A mentor of mine that you may know, Brigadier General (ret) William Wolf former Director of Army Safety and

Commander of the Army Safety Center during part of your tenure as head of OSHA will be also be a wealth of
knowledge---particularly in helping to get us on track with culturally merging the leadership and safety,

Zach's office has not yet completed its investigation of the 'uranium event' as the Shutdown has sequestered many of the
witnesses that he would like to talk to.

But, Sir, | have been busy. I've reached out to the NRC, the Arizona Department of Health Services - Bureau of Radiation
Control, ASU, UofA, to learn more about uranium from the experts. They are hard at work crunching numbers and
interpreting data. | expect to hear back from them shortly.

Sir, in the meantime, any help at allin finding Secretary Henshaw would be greatly appreciated.

Again, Sir, it was good to talk to you. And thank you for your generous offer to lend us a hand.

Very Sincerely,

Swede

Elston "Swede" Stephenson, OHST
Safety Health & Wellness Manager

Grand Canyon National Park
928-255-8727

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10/10/2019 DEPARTMENT OF THE INTERIOR Mail - Thank You From Grand Canyon - SOS Contact for Asst Secretary John Henshaw

Stephenson, Elston <elston_stephenson@nps.gov>

Thank You From Grand Canyon - SOS Contact for Asst Secretary John Henshaw

David Michaels <dmm@gwu.edu> Thu, Jan 10, 2019 at 5:52 AM
Reply-To: dmm@gwu.edu
To: "Stephenson, Elston" <elston_stephenson@nps.gov>

The email address | have for him is john.hanshaw@comecast.net
Good luck with your efforts.

David Michaels, PhD, MPH

Professor | Department of Environmental and Occupational Health

Milken Institute School of Public Health | The George Washington University

950 New Hampshire Ave NW, Fourth Floor, Washington, DC 20052

Telephone: 202.994.1102

Twitter: @drdavidmichaels
http://publichealth.qwu.edu/departments/environmental-and-occupational-health/david-michaels-phd

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Thank You From Grand Canyon - - $08 Contact for Asst Secretary John Henshaw

Stephenson, Elston <elston_stephenson@nps.gov>

Staphanseri, Elston cain _ stephenson@nps.gov> Thu, jan 40, 2019 at 8: 43 AM

To: jahn.henshaw@comcast.net

Secretary Henshaw,
Sir, Good Morning.
My name is Elston Stephenson. | am the recent Safety Manager for Grand Canyon National Park.

Sir, | was wondering if | could talk you into lending your wisdom and experience as former president of the American IH
Association, and head of OSHA to help Grand Canyon National Park establish a solid, legitimate safety program which
provides a safe workplace for its employees and a safe venue for its visitors,

| have came to discover that this 'Wonder of the World’, World Heritage Site, and national icon---Grand Canyon National
Park has suffered---is suffering from years and years of ‘safety neglect’. Unfortunately, it has culminated with the June 11,
2018 discovery of three 5 gallon buckets of uranium stashed away in a small office space which also served as a tourist
venue (Grand Canyon's Museum Collections building). One bucket was filled so high that it could not be closed. Worse,
the uraniurn had been stashed there since 2000. Last year we had a visitor die in a botched AED response attempt. The
AED had not only expired battery and pads, but a further investigation revealed that the model had 6 FDA recalls and was
discontinued from the manufacturer back in 2007. As Heinrich's Pyramid predicted, we very narrowly dadged a fatality as
a worker took a large circular 'target saw’ to his face. It was found that not only did the crew not perform JHA
requirements, but that the Park has a history of never performing JHA or any written pre-task hazard identification and
elimination/mitigation.

Perhaps most concerning of all is an almost immune resistance of the culture to accept a legitimate safety program and
proven best practices.

Sir, as a 28 year Army officer and former attack helicopter pilot, and 21 year certified safety professional, | have come to
recognize (particularly after walking the halls of NPS Headquarters DC) that this is a cultural problem which will need
experienced, serious minds with gravitas and influence at the highest levels of government to establish a program wilh
‘buy-in’ and accountability at the top.

As a former President-Elect and Vice President of the ASSE Hawaii chapter (2014), and FACOSH attendee (2016), | met
Secretary Michaels several times and thought to ask his help to be a resource for an informal advisory group. Dr.
Michaels has agreed, He also cautioned me on how different stakeholders may have better 'hearing' based on their
political persuasions/affiliation and that of the messenger. He mentioned you as a friend and recommended that | also ask
you to please lend your experience and thought to our effort here.

Sir, The Grand Canyon is The Grand Canyon. Everyone loves The Grand Canyon. I've always been a fan. Growing up in
LA, I'd been here a dozen times, but never thought I'd work here. Sir, The Grand Canyon is in crisis. It is demonstrably
hazardous for workers and visitors, It has been this way for years because it never truly had a legitimate serious safety
program. In this, it's 100th Anniversary year, as its Safety Manager, | would like to change that and establish a solid safety
system here. But | know that it will take some very 'big safety brains’ to get it done,

Sir, would it be possible to speak to you and get your thoughts?
Thank You & Happy New Year Mr. Secretary!

Very Sincerely
[Quoled lext hidden]

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Thank You From Grand Canyon - SOS Contact for Asst Secretary John Henshaw

Stephenson, Elston <elston_stephenson@nps.gov>

John Henshaw <john.henshaw@comcast.net> . Mon, Jan 21, 2019 at 10:43 AM

To: "Stephenson, Elston" <elston_stephenson@nps.gov>

Swede

Sorry for the late reply. I am tied up the rest of today and all day tomorrow until 6pm EST.

Maybe we could talk on Wednesday. I'll be ona layover in Dallas on Wednesday from 2-3pm CST and land ~5pm PST in

San Diego. Please feel free to give me a call on my cell at your convenience (239.851.5254).

John

John L. Henshaw

John Henshaw and Associates, Inc.

1107 Periwinkle Way, Ste 101

Sanibel, FL 33957

239.395.2023 (O)

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Stephenson, Elston <elston_stephenson@nps.gov>
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Thank You From Grand Canyon - SOS Contact for Asst Secretary John Henshaw
Stephenson, Elston <elston_stephenson@nps.gov> Mon, Jan 21, 2019 at 11:23 AM
To: John Henshaw <john.henshaw@comcast.net>

Mr. Secretary,

Thank You so much for reaching out.

sir, we could really use your wisdom, leadership, and experience on several fronts.
Thank You for your time on Wednesday.

Safe travels, Sir.

Respectfully,

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